                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

   UNITED STATES OF AMERICA,

                                                       4:18-cr-00876-JAR-NCC
                             Plaintiff,


                        v.


               ASHU JOSHI


                         Defendant.

                              MOTION TO TERMINATE VISITATION
                                AND MODIFY CHILD SUPPORT

       Comes now M.D. and herby moves this Court to terminate the existing visitation

arrangement and modify child support. In support thereof, M.D. states as follows:

       1. M.D. is no longer desireous of Defendant having contact with their child.

       2. The presumptive child support amount owed to M.D. each month is $1,924 AND

           Defendant is currently paying M.D. $500 per month.

       WHEREFORE, M.D. moves this Court to terminate the existing visitation arrangement and

modify child support.

                                                     Respectfully submitted,

                                                     MUHLENKAMP & BERNSEN,
                                                     ATTORNEYS AT LAW, LLC

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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that the above document was electronically filed on March 10,
2020 and served via the electronic filing system to all attorneys of record.


                                                     Tory D. Bernsen
